                                                                                                       Case 11-45231-RAM                        Doc 1         Filed 12/28/11                   Page 1 of 72
                                                                     B1 (Official Form 1) (12/11)
                                                                                                           United States Bankruptcy Court
                                                                                                            Southern District of Florida                                                                              Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Lage, Angel                                                                             Lage, Marlene
                                                                      All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                             (include married, maiden, and trade names):



                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                      (if more than one, state all):     0063                                                 (if more than one, state all):     9727
                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      10478 NW 131st St                                                                       10478 Nw 131st St
                                                                      Hialeah, FL                                                                             Hialeah, FL
                                                                                                                             ZIPCODE 33018-1129                                                                              ZIPCODE 33018-1129
                                                                      County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                      Miami-Dade                                                                              Miami-Dade
                                                                      Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                                         ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                             ZIPCODE
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                                                                                         Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                                ü Chapter
                                                                                                                                                                                         Chapter 7                      Chapter 15 Petition for
                                                                     üSee
                                                                      Individual (includes Joint Debtors)
                                                                          Exhibit D on page 2 of this form.
                                                                                                                                   Single Asset Real Estate as defined in 11
                                                                                                                                   U.S.C. § 101(51B)
                                                                                                                                                                                                 9
                                                                                                                                                                                           Chapter 11
                                                                                                                                                                                                                        Recognition of a Foreign
                                                                                                                                                                                                                        Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                                                        Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                 ü Other                                                                      (Check one box.)
                                                                                      Chapter 15 Debtor
                                                                      Country of debtor’s center of main interests:                           Tax-Exempt Entity
                                                                                                                                                                                            Debts are primarily consumer
                                                                                                                                                                                           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                  ü
                                                                                                                                                                                                                               Debts are primarily
                                                                                                                                                                                                                               business debts.
                                                                      __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                      Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                      regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                      __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                          Filing Fee (Check one box)                                                              Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                     ü  Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.              than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                         Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
                                                                      ü  Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors
                                                                                             ü
                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                        5,000          10,000           25,000              50,000              100,000           100,000
                                                                     Estimated Assets
                                                                                                          ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities
                                                                                                                        ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                                                   Case 11-45231-RAM                    Doc 1        Filed 12/28/11                 Page 2 of 72
                                                                     B1 (Official Form 1) (12/11)                                                                                                                           Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Lage, Angel & Lage, Marlene

                                                                                           All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:None
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
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                                                                                                                                                     X
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                      ü No
                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                          ü Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                           ü Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.
                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                     (Check any applicable box.)
                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                            (Name of landlord that obtained judgment)

                                                                                                                                        (Address of landlord)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                                                           Case 11-45231-RAM                   Doc 1        Filed 12/28/11                   Page 3 of 72
                                                                     B1 (Official Form 1) (12/11)                                                                                                                                                   Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Lage, Angel & Lage, Marlene

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ Angel Lage                                                                         Signature of Foreign Representative
                                                                          Signature of Debtor                                           Angel Lage
                                                                      X   /s/ Marlene Lage                                                                       Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor                                  Marlene Lage
                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          December 28, 2011
                                                                          Date

                                                                                                      Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Timothy S. Kingcade, Esq.                                                     preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Timothy S. Kingcade, Esq. 082309                                                  110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                                                          Kingcade & Garcia, P.A.                                                           pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          1370 Coral Way                                                                    chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Miami, FL 33145-2960                                                              notice of the maximum amount before preparing any document for filing
                                                                          (305) 285-9100                                                                    for a debtor or accepting any fee from the debtor, as required in that
                                                                          kingcadeserve@bellsouth.net                                                       section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          December 28, 2011
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this              X
                                                                      petition is true and correct, and that I have been authorized to file this                 Signature
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                      United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                                                                                            Names and Social-Security numbers of all other individuals who prepared or
                                                                      X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                          Signature of Authorized Individual                                                not an individual:

                                                                                                                                                            If more than one person prepared this document, attach additional sheets
                                                                          Printed Name of Authorized Individual
                                                                                                                                                            conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                          Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                            imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                                                    Case 11-45231-RAM             Doc 1      Filed 12/28/11          Page 4 of 72
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                       United States Bankruptcy Court
                                                                                                                        Southern District of Florida

                                                                     IN RE:                                                                                           Case No.
                                                                     Lage, Angel                                                                                      Chapter 7
                                                                                                                Debtor(s)

                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                            CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     ü  1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Angel Lage
                                                                     Date: December 28, 2011
                                                                                                    Case 11-45231-RAM             Doc 1      Filed 12/28/11          Page 5 of 72
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                       United States Bankruptcy Court
                                                                                                                        Southern District of Florida

                                                                     IN RE:                                                                                           Case No.
                                                                     Lage, Marlene                                                                                    Chapter 7
                                                                                                                Debtor(s)

                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                            CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     ü  1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Marlene Lage
                                                                     Date: December 28, 2011
                                                                                               Case
                                                                     B6 Summary (Form 6 - Summary)      11-45231-RAM
                                                                                                   (12/07)                                    Doc 1          Filed 12/28/11              Page 6 of 72
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                   Southern District of Florida

                                                                     IN RE:                                                                                                                Case No.
                                                                     Lage, Angel & Lage, Marlene                                                                                           Chapter 7
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                 LIABILITIES                OTHER


                                                                      A - Real Property                                               Yes                          1 $         940,317.00



                                                                      B - Personal Property                                           Yes                          3 $            3,024.04



                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          4                           $      2,182,326.00


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          1                           $                 0.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                        21                             $     5,612,244.61
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                       H - Codebtors                                                  Yes                          1


                                                                       I - Current Income of Individual
                                                                                                                                      Yes                          1                                                     $         12,539.68
                                                                           Debtor(s)

                                                                       J - Current Expenditures of Individual
                                                                                                                                      Yes                          2                                                     $         12,617.37
                                                                           Debtor(s)


                                                                                                                                      TOTAL                      36 $          943,341.04 $           7,794,570.61
                                                                                                   Case
                                                                     Form 6 - Statistical Summary (12/07)   11-45231-RAM       Doc 1    Filed 12/28/11        Page 7 of 72
                                                                                                                       United States Bankruptcy Court
                                                                                                                        Southern District of Florida

                                                                     IN RE:                                                                                       Case No.
                                                                     Lage, Angel & Lage, Marlene                                                                  Chapter 7
                                                                                                                Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
                                                                     101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                     ü  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                     information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                       Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $

                                                                      Student Loan Obligations (from Schedule F)                                                        $

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $

                                                                                                                                                           TOTAL        $


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 16)                                                         $

                                                                      Average Expenses (from Schedule J, Line 18)                                                       $

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                      $

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                        $

                                                                      4. Total from Schedule F                                                                                          $

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                      $
                                                                     B6A (Official Form 6A) (12/07) Case         11-45231-RAM                   Doc 1         Filed 12/28/11               Page 8 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                       Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     10478 NW 131 Street Hialeah Gardens, FL 33018                                             Tenancy by the                     J                          404,448.00               489,305.00
                                                                     Homestead: Single family residence                                                        Entirety
                                                                     Purchased: 1996
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                                                                     1521 Shaw Dr Key Largo, FL 33037                                                                                           H                            450,000.00             1,279,223.00
                                                                     Non-Homestead: Single family residence
                                                                     Purchased: 09/2006
                                                                     To Be Surrendered
                                                                     2791 LB McLeod Rd Unit 2791-A , Orlando FL 32805                                                                             J                           10,193.00                        0.00
                                                                     Investment property: Condominium Apartment
                                                                     Purchased: 10/2007
                                                                     Debtors have not paid property taxes and HOA for
                                                                     approximatelly 3 years
                                                                     2791 LB McLeod Rd Unit 2791-B , Orlando FL 32805                                                                             J                           10,193.00               116,934.00
                                                                     Investment property: Condominium Apartment
                                                                     Purchased: 10/2007
                                                                     Debtors have not paid property taxes and HOA for
                                                                     approximatelly 3 years
                                                                     2791 LB McLeod Rd Unit 2791-D , Orlando FL 32805                                          Tenancy by the                     J                           10,193.00               223,034.00
                                                                     Investment property: Condominium Apartment                                                Entirety
                                                                     Purchased: 10/2007
                                                                     Debtors have not paid property taxes and HOA for
                                                                     approximatelly 3 years
                                                                     7859 W 36 Ave Apt 204 Hialeah, FL 33018                                                                                    H                             55,290.00                   73,830.00
                                                                     Investment property: Condominium apartment
                                                                     Purchased: 06/2001




                                                                                                                                                                                      TOTAL                                  940,317.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                     B6B (Official Form 6B) (12/07) Case          11-45231-RAM                 Doc 1          Filed 12/28/11              Page 9 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                      Case No.
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                                   Cash on hand                                                                                  J                                20.00
                                                                        2. Checking, savings or other financial            Chase Checking Acct No.X1575                                                                  J                               300.00
                                                                           accounts, certificates of deposit or            Wellf Fargo Buisness Checking Account for Lageville Plaza,                                    J                                  1.34
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                                                                           LLC. (corporation is inactive) Accoutn No. X9806
                                                                           homestead associations, or credit               Wellf Fargo Buisness Checking Account for Lageville Plaza,                                    J                                  0.00
                                                                           unions, brokerage houses, or                    LLC. (corporation is inactive) Accoutn No. X9806
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Misc. Household Goods                                                                         J                             1,685.00
                                                                           include audio, video, and computer              Based on Inventory list
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Misc. Clothing                                                                                J                               200.00
                                                                        7. Furs and jewelry.                               Misc. Jewelry                                                                                 J                               205.00
                                                                                                                           Based on Inventory list
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                     B6B (Official Form 6B) (12/07)Case
                                                                                                   - Cont.      11-45231-RAM            Doc 1     Filed 12/28/11            Page 10 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                           Case No.
                                                                                                                            Debtor(s)                                                                        (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                            HUSBAND, WIFE, JOINT,
                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                     CURRENT VALUE OF
                                                                                                                     N                                                                                              DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                               PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                 DEDUCTING ANY
                                                                                                                     E                                                                                               SECURED CLAIM OR
                                                                                                                                                                                                                         EXEMPTION




                                                                      13. Stock and interests in incorporated            1% 1st Choice Automotive Financial Service LLC.                        J                                62.70
                                                                          and unincorporated businesses.                 Assets:
                                                                          Itemize.                                       Wells Frago Checking Account No. X4572 - $1000
                                                                                                                         Wells Frago Checking Account No. X9149 - $370
                                                                                                                         Wells Frago Checking Account No. X9505 - $1000
                                                                                                                         Chase Checking Account No. X7272 - $4800
                                                                                                                         Chase High Yield Savings Account No. X2444 - $100
                                                                                                                         100% Global Group Management, Inc.                                    H                                100.00
                                                                                                                         Assets:
                                                                                                                         Chse Checking Acct No.X6522 = $5,000 (in escrow to pay
                                                                                                                         property taxes)
                                                                                                                         Chase Savings Acct No.X1755 = $100
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                                                                                                                         Office Equipment: None (home office)
                                                                                                                         Inventory: None (Service)
                                                                                                                         Accounts Receivable: None
                                                                                                                         Liabilities: None
                                                                      14. Interests in partnerships or joint         X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent                   SW 62 Street Land Trust                                                J                                  0.00
                                                                          interests in estate of a decedent, death       Trustee - Tony Garcia, CPA
                                                                          benefit plan, life insurance policy, or        Beneficiary - 2006Marlene Lage Irrevocable Trustee
                                                                          trust.                                         Assets: 14200-36 SW 62 Street, Miami, FL - Value $500,000
                                                                                                                         Liabilities - Mortgage held by Bernie Exposito and Preferred
                                                                                                                         Apprisal Services, Inc. $1.175 million (interest only).
                                                                                                                         The Angel Lage Irrevocable Trust                                      H                                   0.00
                                                                                                                         Trustee: Joint-Debtor
                                                                                                                         Beneficiary: Children/Family
                                                                                                                         Assets:
                                                                                                                         WellsFargo Checking Acct No.X4957 = $200 (to pay life
                                                                                                                         Insurance)
                                                                                                                         One Term Life Insurance Policy (value at 3 million)
                                                                                                                         The Marlene Lage Irrevocable Trust                                  W                                     0.00
                                                                                                                         Trustee: Debtor (H)
                                                                                                                         Beneficiary: Debtor (W)
                                                                                                                         Assets:
                                                                     B6B (Official Form 6B) (12/07)Case
                                                                                                   - Cont.     11-45231-RAM             Doc 1     Filed 12/28/11            Page 11 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                           Case No.
                                                                                                                            Debtor(s)                                                                                  (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                      HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                         OR COMMUNITY
                                                                                                                                                                                                                               CURRENT VALUE OF
                                                                                                                     N                                                                                                        DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                                         PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                           DEDUCTING ANY
                                                                                                                     E                                                                                                         SECURED CLAIM OR
                                                                                                                                                                                                                                   EXEMPTION



                                                                                                                         WellsFargo Checking Acct No.X4960 = $125 (to pay life
                                                                                                                         Insurance)
                                                                                                                         One Term Life Insurance Policy (value at 1 million)
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
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                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and             1997 Ford Aerostar Passenger                                                    H                                400.00
                                                                          other vehicles and accessories.                Estimated mileage: 170,000
                                                                                                                         Vehicle has no insurance
                                                                                                                         Based on KBB Report
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                      28. Office equipment, furnishings, and         X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and        X
                                                                          supplies used in business.
                                                                      30. Inventory.                                 X
                                                                      31. Animals.                                       1 dog                                                                            J                                50.00
                                                                      32. Crops - growing or harvested. Give         X
                                                                          particulars.
                                                                      33. Farming equipment and implements.          X
                                                                      34. Farm supplies, chemicals, and feed.        X
                                                                      35. Other personal property of any kind        X
                                                                          not already listed. Itemize.




                                                                                                                                                                                                TOTAL                                   3,024.04
                                                                                                                                                                           (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                          Report total also on Summary of Schedules.)
                                                                     B6C (Official Form 6C) (04/10)Case        11-45231-RAM                 Doc 1        Filed 12/28/11            Page 12 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                               Case No.
                                                                                                                               Debtor(s)                                                                        (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:
                                                                     (Check one box)
                                                                                                                                                        üCheck if debtor claims a homestead exemption that exceeds $146,450. *
                                                                           11 U.S.C. § 522(b)(2)
                                                                        ü11 U.S.C. § 522(b)(3)
                                                                                                                                                                                                                    CURRENT VALUE
                                                                                                                                                                                           VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                              EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                     EXEMPTIONS

                                                                     SCHEDULE A - REAL PROPERTY
                                                                     10478 NW 131 Street Hialeah Gardens, FL                      Art. X, §4(a)(1), FSA §§ 222.01, 222.02                               100%             404,448.00
                                                                     33018
                                                                     Homestead: Single family residence
                                                                     Purchased: 1996
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Cash on hand                                                 Art X § 4(a)(2)                                                       20.00                     20.00
                                                                     Chase Checking Acct No.X1575                                 Art X § 4(a)(2)                                                      300.00                    300.00
                                                                     Misc. Household Goods                                        Art X § 4(a)(2)                                                   1,480.00                 1,685.00
                                                                     Based on Inventory list
                                                                     Misc. Clothing                                               Art X § 4(a)(2)                                                      200.00                    200.00
                                                                     1997 Ford Aerostar Passenger                                 FSA § 222.25(1)                                                      400.00                    400.00
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                                                                     Estimated mileage: 170,000
                                                                     Vehicle has no insurance
                                                                     Based on KBB Report




                                                                     * Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                     B6D (Official Form 6D) (12/07)Case         11-45231-RAM                                           Doc 1        Filed 12/28/11            Page 13 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                                 Debtor(s)                                                                                                                                      (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
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                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                 AMOUNT OF




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO. 68218013338299                                                 J Home Equity Line of Credit 11/07-11/11                                                                          119,679.00              109,486.00
                                                                     Bank Of America                                                              Debtor not on title
                                                                     4161 Piedmont Pkwy                                                           Acct in collection
                                                                     Greensboro, NC 27410

                                                                                                                                                                   VALUE $ 10,193.00

                                                                     ACCOUNT NO.                                                                                   Assignee or other notification for:
                                                                     Bank Of America                                                                               Bank Of America
                                                                     ATTN: BANKRUPTCY NC4-105-0299
                                                                     Po Box 26012
                                                                     Greensboro, NC 27410
                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO.                                                                                   Assignee or other notification for:
                                                                     Bank Of America                                                                               Bank Of America
                                                                     NY7-201-02-07
                                                                     5701Horarion St
                                                                     Utica, NY 13502-1024
                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO. 68218013172399                                                 J Home Equity Line of Credit 11/07-11/11                                                                          116,934.00              106,741.00
                                                                     Bank Of America                                                              Non-Homestead
                                                                     4161 Piedmont Pkwy                                                           Debtor not on title
                                                                     Greensboro, NC 27410

                                                                                                                                                                   VALUE $ 10,193.00
                                                                                                                                                                                                                       Subtotal
                                                                            3 continuation sheets attached                                                                                                 (Total of this page) $ 236,613.00 $ 216,227.00
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
                                                                     B6D (Official Form 6D) (12/07)Case
                                                                                                    - Cont.   11-45231-RAM                                           Doc 1        Filed 12/28/11            Page 14 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                        Case No.
                                                                                                                               Debtor(s)                                                                                                                                      (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                                                                                                                                               AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                 DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                            DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                       UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                  NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                     PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                              PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                              COLLATERAL




                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Bank Of America                                                                             Bank Of America
                                                                     ATTN: BANKRUPTCY NC4-105-0299
                                                                     Po Box 26012
                                                                     Greensboro, NC 27410
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Bank Of America                                                                             Bank Of America
                                                                     NY7-201-02-07
                                                                     5701Horarion St
                                                                     Utica, NY 13502-1024
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                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO. 68218013159399                                               J Home Equity Line of Credit 11/07-11/11                                                                          103,355.00              103,355.00
                                                                     Bank Of America                                                            Non-Homestead
                                                                     4161 Piedmont Pkwy                                                         Debtor not on title
                                                                     Greensboro, NC 27410

                                                                                                                                                                 VALUE $ 10,193.00

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Bank Of America                                                                             Bank Of America
                                                                     ATTN: BANKRUPTCY NC4-105-0299
                                                                     Po Box 26012
                                                                     Greensboro, NC 27410
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Bank Of America                                                                             Bank Of America
                                                                     NY7-201-02-07
                                                                     5701Horarion St
                                                                     Utica, NY 13502-1024
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO. 150948953                                                  H Mortgage Loan 10/06-10/11                                                                                      1,064,223.00               614,223.00
                                                                     Bank Of America, N.a.                                                    Non-Homestead in Foreclosure
                                                                     450 American St                                                          Plaintiff in Lawsuit Case No.
                                                                     Simi Valley, CA 93065                                                    44-2008-CA-000732
                                                                                                                                              1521 Shaw Dr, Key Largo, FL 33037
                                                                                                                                                                 VALUE $ 450,000.00
                                                                     Sheet no.       1 of        3 continuation sheets attached to                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                        (Total of this page) $ 1,167,578.00 $ 717,578.00
                                                                                                                                                                                                                        Total
                                                                                                                                                                                                      (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                            (Report also on         (If applicable, report
                                                                                                                                                                                                                                                            Summary of              also on Statistical
                                                                                                                                                                                                                                                            Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                    Liabilities and Related
                                                                                                                                                                                                                                                                                    Data.)
                                                                     B6D (Official Form 6D) (12/07)Case
                                                                                                    - Cont.   11-45231-RAM                                           Doc 1        Filed 12/28/11            Page 15 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                        Case No.
                                                                                                                               Debtor(s)                                                                                                                                      (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                                                                                                                                               AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                 DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                            DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                       UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                  NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                     PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                              PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                              COLLATERAL




                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Bank Of America                                                                             Bank Of America, N.a.
                                                                     P.O. Box 940483
                                                                     Simi Valley, CA 93094-0483

                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Bank Of America                                                                             Bank Of America, N.a.
                                                                     NY7-201-02-07
                                                                     5701Horarion St
                                                                     Utica, NY 13502-1024
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                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Wells Fargo Bank Na                                                                         Bank Of America, N.a.
                                                                     Po Box 31557
                                                                     Billings, MT 59107

                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO. 68211029012099                                               J Mortgage Loan 08/02-11/11                                                                                       221,304.00
                                                                     Bank Of America, N.a.                                                      Homestead:
                                                                     4161 Piedmont Pkwy                                                         10478 NW 131 Street Hialeah Gardens,
                                                                     Greensboro, NC 27410                                                       FL 33018

                                                                                                                                                                 VALUE $ 404,448.00

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Bank Of America                                                                             Bank Of America, N.a.
                                                                     NY7-201-02-07
                                                                     5701Horarion St
                                                                     Utica, NY 13502-1024
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO. 36170440                                                   H Mortgage Loan 08/04-10/11                                                                                           73,830.00                18,540.00
                                                                     Bank Of America, N.a.                                                    Investment Property
                                                                     450 American St                                                          7859 W 36th St unit 204, Hialeah, FL
                                                                     Simi Valley, CA 93065                                                    33018

                                                                                                                                                                 VALUE $ 55,290.00
                                                                     Sheet no.       2 of        3 continuation sheets attached to                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                        (Total of this page) $ 295,134.00 $                                               18,540.00
                                                                                                                                                                                                                        Total
                                                                                                                                                                                                      (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                            (Report also on         (If applicable, report
                                                                                                                                                                                                                                                            Summary of              also on Statistical
                                                                                                                                                                                                                                                            Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                    Liabilities and Related
                                                                                                                                                                                                                                                                                    Data.)
                                                                     B6D (Official Form 6D) (12/07)Case
                                                                                                    - Cont.   11-45231-RAM                                           Doc 1        Filed 12/28/11            Page 16 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                        Case No.
                                                                                                                               Debtor(s)                                                                                                                                    (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                                                                                                                                             AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                               DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                            DATE CLAIM WAS INCURRED,                                                      CLAIM WITHOUT
                                                                                                                                                                                                                                                                                     UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                  NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                             DEDUCTING
                                                                                                                                                                                                                                                                                   PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                              PROPERTY SUBJECT TO LIEN                                                        VALUE OF
                                                                                                                                                                                                                                                            COLLATERAL




                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Bank Of America                                                                             Bank Of America, N.a.
                                                                     NY7-201-02-07
                                                                     5701Horarion St
                                                                     Utica, NY 13502-1024
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO. 3000027826148                                              H Mortgage Loan 10/06-12/11                                                                                       215,000.00              215,000.00
                                                                     Central Loan Admin And R                                                 Non-Homestead
                                                                     425 Phillips Blvd.                                                       1521 Shaw Dr Key Largo, FL 33037
                                                                     Ewing, NJ 08618
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                                                                                                                                                                 VALUE $ 450,000.00

                                                                     ACCOUNT NO. 68168146162001998                                            J Home Equity Line of Credit 08/02-10/11                                                                        268,001.00                 84,857.00
                                                                     Wells Fargo Bank Nv Na                                                     Homestead:
                                                                     Po Box 31557                                                               10478 NW 131 Street Hialeah Gardens,
                                                                     Billings, MT 59107                                                         FL 33018

                                                                                                                                                                 VALUE $ 404,448.00

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Wells Fargo Bank Nv Na                                                                      Wells Fargo Bank Nv Na
                                                                     CALL 800-225-5935
                                                                     Choose Account Type In Automated Attenda
                                                                     Des Moines, IA 50306
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $
                                                                     Sheet no.       3 of        3 continuation sheets attached to                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                        (Total of this page) $ 483,001.00 $ 299,857.00
                                                                                                                                                                                                                        Total
                                                                                                                                                                                                      (Use only on last page) $ 2,182,326.00 $ 1,252,202.00
                                                                                                                                                                                                                                                          (Report also on         (If applicable, report
                                                                                                                                                                                                                                                          Summary of              also on Statistical
                                                                                                                                                                                                                                                          Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                  Liabilities and Related
                                                                                                                                                                                                                                                                                  Data.)
                                                                     B6E (Official Form 6E) (04/10)Case          11-45231-RAM                    Doc 1          Filed 12/28/11               Page 17 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                          Case No.
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                         Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                     üCheck this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                          Taxes and Certain Other Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            0 continuation sheets attached
                                                                     B6F (Official Form 6F) (12/07)Case         11-45231-RAM                                              Doc 1      Filed 12/28/11             Page 18 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                             Case No.
                                                                                                                                 Debtor(s)                                                                                                               (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                                                                                                            CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                        DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                      DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                 CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                          (See Instructions Above.)                                                                        SUBJECT TO SETOFF, SO STATE                                                              CLAIM
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                                                                     ACCOUNT NO. 82881029                                                                                 Collection Agency for Directv (1029) 04/11                                     X
                                                                     Allied Interstate
                                                                     P.O. Box 5023
                                                                     New York, NY 10163

                                                                                                                                                                                                                                                                                        1.00
                                                                     ACCOUNT NO.                                                                                          Assignee or other notification for:
                                                                     Directv                                                                                              Allied Interstate
                                                                     PO Box 78626
                                                                     Phoenix, AZ 85062-8626



                                                                     ACCOUNT NO. 91491691                                                            H Auto Loan 06/09                                                                                   X
                                                                     American Honda Finance                                                            $0 Balance on Credit Report
                                                                     1030 Cambridge Squ
                                                                     Alpharetta, GA 30201

                                                                                                                                                                                                                                                                                        1.00
                                                                     ACCOUNT NO. 91491682                                                            H Auto Loan 05/09                                                                                   X
                                                                     American Honda Finance                                                            $0 Balance on Credit Report
                                                                     1030 Cambridge Squ
                                                                     Alpharetta, GA 30201

                                                                                                                                                                                                                                                                                        1.00
                                                                                                                                                                                                                                            Subtotal
                                                                          20 continuation sheets attached                                                                                                                       (Total of this page) $                                  3.00
                                                                                                                                                                                                                                               Total
                                                                                                                                                                                  (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                      the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                   Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 19 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 3499906917670913                                                W Revolving Credit Card 11/08                                                                        X
                                                                     Amex                                                                          $0 Balance on Credit Report
                                                                     Po Box 297871
                                                                     Fort Lauderdale, FL 33329

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Amex                                                                                              Amex
                                                                     AMERICAN EXPRESS SPECIAL RESEARCH
                                                                     Po Box 981540
                                                                     El Paso, TX 79998
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                                                                     ACCOUNT NO. 3499911789134633                                                   J Revolving Credit Card 12/08                                                                     X
                                                                     Amex                                                                             $0 Balance on Credit Report
                                                                     Po Box 297871
                                                                     Fort Lauderdale, FL 33329

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Amex                                                                                              Amex
                                                                     AMERICAN EXPRESS SPECIAL RESEARCH
                                                                     Po Box 981540
                                                                     El Paso, TX 79998

                                                                     ACCOUNT NO. MV2121                                                           H Medical Services 09/11
                                                                     Assoc of S Miami, Patholo
                                                                     C/O First Federal Credit Control
                                                                     24700 Chagrin Blvd Ste 205
                                                                     Cleveland, OH 44122-5662
                                                                                                                                                                                                                                                                                    55.00
                                                                     ACCOUNT NO. 74975645755996                                                  W Revolving Credit Card 08/08                                                                        X
                                                                     Bank Of America                                                               $0 Balance on Credit Report
                                                                     Po Box 17054
                                                                     Wilmington, DE 19850

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 4319-0400-0314-2993                                             W Revolving Credit Card 06/08                                                                        X
                                                                     Bank Of America                                                               $0 Balance on Credit Report
                                                                     Po Box 1598
                                                                     Norfolk, VA 23501

                                                                                                                                                                                                                                                                                     1.00
                                                                     Sheet no.       1 of      20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                 59.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 20 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Bank Of America                                                                                   Bank Of America
                                                                     ATTENTION: RECOVERY DEPARTMENT
                                                                     4161 Peidmont Pkwy.
                                                                     Greensboro, NC 27410

                                                                     ACCOUNT NO. 4264-2960-7227-2153                                             W Revolving Credit Card 06/08                                                                        X
                                                                     Bank Of America                                                               $0 Balance on Credit Report
                                                                     Po Box 17054
                                                                     Wilmington, DE 19850
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                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 4192-0000-0196-4857                                              H Revolving Credit Card 10/09                                                                       X
                                                                     Bank Of America                                                                $0 Balance on Credit Report
                                                                     Po Box 17054
                                                                     Wilmington, DE 19850

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Bank Of America                                                                                   Bank Of America
                                                                     ATTN: BANKRUPTCY NC4-105-0299
                                                                     Po Box 26012
                                                                     Greensboro, NC 27410

                                                                     ACCOUNT NO. 4888-9360-3144-7372                                                J Revolving Credit Card 07/08                                                                     X
                                                                     Bank Of America                                                                  $0 Balance on Credit Report
                                                                     Po Box 1598
                                                                     Norfolk, VA 23501

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Bank Of America                                                                                   Bank Of America
                                                                     ATTENTION: RECOVERY DEPARTMENT
                                                                     4161 Peidmont Pkwy.
                                                                     Greensboro, NC 27410

                                                                     ACCOUNT NO. 68218013305799                                                     J Mortgage Loan 05/10                                                                             X
                                                                     Bank Of America                                                                  $0 Balance on Credit Report
                                                                     4161 Piedmont Pkwy
                                                                     Greensboro, NC 27410

                                                                                                                                                                                                                                                                                     1.00
                                                                     Sheet no.       2 of      20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                  4.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 21 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Bank Of America                                                                                   Bank Of America
                                                                     ATTN: BANKRUPTCY NC4-105-0299
                                                                     Po Box 26012
                                                                     Greensboro, NC 27410

                                                                     ACCOUNT NO. 4264-2911-4731-4080                                              H Revolving Credit Card 07/08                                                                       X
                                                                     Bank Of America                                                                $0 Balance on Credit Report
                                                                     Po Box 17054
                                                                     Wilmington, DE 19850
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                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 150948945                                                        H Creditline 08/09                                                                                  X
                                                                     Bank Of America, N.a.                                                          $0 Balance on Credit Report
                                                                     450 American St
                                                                     Simi Valley, CA 93065

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 1737015510485                                                   W Mortgage Loan 03/03                                                                                X
                                                                     Bank Of America, N.a.                                                         $0 Balance on Credit Report
                                                                     4161 Piedmont Parkway
                                                                     Greensboro, NC 27410

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 7591044334889                                                    H Mortgage Loan 11/04                                                                               X
                                                                     Bank Of America, N.a.                                                          $0 Balance on Credit Report
                                                                     150 Allegheny Center Mall
                                                                     Pittsburgh, PA 15212

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Bank Of America, N.a.                                                                             Bank Of America, N.a.
                                                                     PNC
                                                                     Po Box 5570 Br-yb58-01-3
                                                                     Brecksville, OH 44141

                                                                     ACCOUNT NO. 63010000949586                                                   H Installment Loan 02/06                                                                            X
                                                                     Bank Of America, N.a.                                                          $0 Balance on Credit Report
                                                                     201 N Tryon St
                                                                     Charlotte, NC 28202

                                                                                                                                                                                                                                                                                     1.00
                                                                     Sheet no.       3 of      20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                  5.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 22 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Bank Of America, N.a.                                                                             Bank Of America, N.a.
                                                                     ATTN: BANKRUPTCY NC4-105-0299
                                                                     Po Box 26012
                                                                     Greensboro, NC 27410

                                                                     ACCOUNT NO. 68218013160299                                                     J Revolving Credit Card 12/07                                                                     X
                                                                     Bank Of America, N.a.                                                            $0 Balance on Credit Report
                                                                     4161 Piedmont Pkwy
                                                                     Greensboro, NC 27410
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                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 68219008740499                                                     J Revolving Credit Card 10/02                                                                     X
                                                                     Bank Of America, N.a.                                                            $0 Balance on Credit Report
                                                                     4161 Piedmont Pkwy
                                                                     Greensboro, NC 27410

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 4888-6070-0923-8925                                                J Revolving Credit Card 09/07                                                                     X
                                                                     Bk Of Amer                                                                       $0 Balance on Credit Report
                                                                     Po Box 1598
                                                                     Norfolk, VA 23501

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Bk Of Amer                                                                                        Bk Of Amer
                                                                     ATTENTION: RECOVERY DEPARTMENT
                                                                     4161 Peidmont Pkwy.
                                                                     Greensboro, NC 27410

                                                                     ACCOUNT NO. 5178-0587-9244-5523                                             W Revolving Credit Card 10/1-11/11
                                                                     Cap One
                                                                     Pob 30281
                                                                     Salt Lake City, UT 84130

                                                                                                                                                                                                                                                                                   296.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Cap One                                                                                           Cap One
                                                                     CAPITAL ONE BANK (USA) N.A.
                                                                     Po Box 30285
                                                                     Salt Lake City, UT 84130

                                                                     Sheet no.       4 of      20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                299.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 23 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 2791-B                                             X J HOA
                                                                     Catalina Isles Condomium Association,Inc
                                                                     2180 W Sr 434 Ste 5000
                                                                     Longwood, FL 32779

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 2791-D                                                             J HOA
                                                                     Catalina Isles Condomium Association,Inc
                                                                     2180 W Sr 434 Ste 5000
                                                                     Longwood, FL 32779
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                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 05-019135679                                                    W Collection Agency for Directv (1029) 10/11                                                         X
                                                                     CBE Group
                                                                     1309 Technology Pkwy
                                                                     Cedar Falls, IA 50613-6976

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Directv                                                                                           CBE Group
                                                                     PO Box 78626
                                                                     Phoenix, AZ 85062-8626



                                                                     ACCOUNT NO. 6035320003121827                                                 H Revolving Credit Card 08/03                                                                       X
                                                                     Cbna                                                                           $0 Balance on Credit Report
                                                                     Po Box 6497
                                                                     Sioux Falls, SD 57117

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Cbna                                                                                              Cbna
                                                                     CITICORP CREDIT SERVICES/ATTN: CENTRALIZ
                                                                     Po Box 20363
                                                                     Kansas City, MO 64195


                                                                     ACCOUNT NO. 4266-9020-1817-5099                                                J Revolving Credit Card 09/09                                                                     X
                                                                     Chase                                                                            $0 Balance on Credit Report
                                                                     201 N. Walnut St//de1-1027
                                                                     Wilmington, DE 19801

                                                                                                                                                                                                                                                                                     1.00
                                                                     Sheet no.       5 of      20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                  5.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 24 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 5483410620                                                      W Revolving Credit Card 07/04                                                                        X
                                                                     Chase                                                                         $0 Balance on Credit Report
                                                                     2500 Westfield Dr
                                                                     Elgin, IL 60124

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Chase                                                                                             Chase
                                                                     ATTN: BANKRUPTCY
                                                                     Po Box 15145
                                                                     Wilmington, DE 19850
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                                                                     ACCOUNT NO. 4320201214                                                      W Installment Loan 11/03                                                                             X
                                                                     Chase Auto                                                                    $0 Balance on Credit Report
                                                                     Po Box 901076
                                                                     Fort Worth, TX 76101

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Chase Auto                                                                                        Chase Auto
                                                                     CHASE CARD SERVICES
                                                                     Po Box 15298
                                                                     Wilmington, DE 19850

                                                                     ACCOUNT NO. 1947410264                                                       H Mortgage Loan 07/02                                                                               X
                                                                     Chase Manhattan Mtge                                                           $0 Balance on Credit Report
                                                                     3415 Vision Dr
                                                                     Columbus, OH 43219

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. xxx-xx-0063 xxx-xx-9727                                            J Notice Only
                                                                     Child Support Enforcemment
                                                                     PO Box 8030
                                                                     Tallahassee, FL 32314-8030

                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO. 4128-0038-0618-1122                                                J Revolving Credit Card 09/97-11/11
                                                                     Citi                                                                             Acct in collection
                                                                     P.o. Box 6500
                                                                     Sioux Falls, SD 57117

                                                                                                                                                                                                                                                                                 7,685.06
                                                                     Sheet no.       6 of      20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              7,688.06
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 25 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Citi                                                                                              Citi
                                                                     CITICORPS CREDIT SERVICES/ATTENTION: CEN
                                                                     Po Box 20503
                                                                     Kansas City, MO 64195


                                                                     ACCOUNT NO. 5424-1805-1224-6023                                                J Revolving Credit Card 12/05                                                                     X
                                                                     Citi                                                                             $0 Balance on Credit Report
                                                                     P.o. Box 6500
                                                                     Sioux Falls, SD 57117
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                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Citi                                                                                              Citi
                                                                     ATTN: CENTRALIZED BANKRUPTCY
                                                                     Po Box 20507
                                                                     Kansas City, MO 64195

                                                                     ACCOUNT NO. 6032590363506923                                                W Revolving Credit Card 03/09                                                                        X
                                                                     Citi Ctb                                                                      $0 Balance on Credit Report
                                                                     Po Box 22066
                                                                     Tempe, AZ 85285

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Citi Ctb                                                                                          Citi Ctb
                                                                     CITIFINANCIAL/ATTN: BANKRUPTCY DEPT
                                                                     Po Box 140489
                                                                     Irving, TX 75014

                                                                     ACCOUNT NO. 6032590157053843                                                W Revolving Credit Card 09/03                                                                        X
                                                                     Citi Ctb                                                                      $0 Balance on Credit Report
                                                                     Po Box 22066
                                                                     Tempe, AZ 85285

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Citi Ctb                                                                                          Citi Ctb
                                                                     CITIFINANCIAL/ATTN: BANKRUPTCY DEPT
                                                                     Po Box 140489
                                                                     Irving, TX 75014

                                                                     Sheet no.       7 of      20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                  3.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 26 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                                 AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                             OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                                CLAIM




                                                                     ACCOUNT NO. 149236259                                                          J Revolving Credit Card 11/11                                                                     X
                                                                     Citi-shell                                                                       $0 Balance on Credit Report
                                                                     Po Box 6497
                                                                     Sioux Falls, SD 57117

                                                                                                                                                                                                                                                                                       1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Citi-shell                                                                                        Citi-shell
                                                                     ATTN.: CENTRALIZED BANKRUPTCY
                                                                     Po Box 20507
                                                                     Kansas City, MO 64195
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                                                                     ACCOUNT NO. xxx-xx-0063 xxx-xx-9727                                            J Notice Only
                                                                     Department Of The Treasury
                                                                     PO Box 21126
                                                                     Philadelphia, PA 19114-0326

                                                                                                                                                                                                                                                                                       0.00
                                                                     ACCOUNT NO. 431075408                                                          J 2006 Federal Tax Lien - 1040
                                                                     Department Of The Treasury
                                                                     PO Box 21126
                                                                     Philadelphia, PA 19114-0326

                                                                                                                                                                                                                                                                                1,309,616.56
                                                                     ACCOUNT NO. 82881029                                                        W Services Rendered 10/11
                                                                     Directv                                                                       Acct in collection
                                                                     PO Box 78626
                                                                     Phoenix, AZ 85062-8626

                                                                                                                                                                                                                                                                                      45.24
                                                                     ACCOUNT NO. 31855                                                            H Medical Services 11/10
                                                                     Dpi of Pembroke Pines
                                                                     C/O Amerassist
                                                                     8415 Pulsar Place
                                                                     Columbus, OH 43240
                                                                                                                                                                                                                                                                                     392.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Amerassist                                                                                        Dpi of Pembroke Pines
                                                                     ATTN: KOVACKS
                                                                     460 Polaris Parkway                   Ste. 20
                                                                     Westerville, OH 43082

                                                                     Sheet no.       8 of      20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $ 1,310,054.80
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 27 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 31851                                                            H Medical Services 11/10
                                                                     Dpi Of Pembroke Pines
                                                                     C/O Amerassist
                                                                     8415 Pulsar Place
                                                                     Columbus, OH 43240
                                                                                                                                                                                                                                                                                   388.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Amerassist                                                                                        Dpi Of Pembroke Pines
                                                                     ATTN: KOVACKS
                                                                     460 Polaris Parkway                   Ste. 20
                                                                     Westerville, OH 43082
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                                                                     ACCOUNT NO. 5774421050135970                                                   J Revolving Credit Card 03/11                                                                     X
                                                                     Eldorado Frn                                                                     $0 Balance on Credit Report
                                                                     Cscl Dispute Team
                                                                     Des Moines, IA 50306

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Eldorado Frn                                                                                      Eldorado Frn
                                                                     BANKRUPTCY
                                                                     4137 121st St
                                                                     Urbandale, IA 50323

                                                                     ACCOUNT NO. xxx-xx-0063 xxx-xx-9727                                            J Notice Only
                                                                     Equifax
                                                                     PO Box 740241
                                                                     Atlanta, GA 30374-0241

                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO. xxx-xx-0063 xxx-xx-9727                                            J Notice Only
                                                                     Experian
                                                                     PO Box 2002
                                                                     Allen, TX 75013-2002

                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO. 4625-7450-0002-8693                                              H Revolving Credit Card 07/05                                                                       X
                                                                     First Fl Cu                                                                    $0 Balance on Credit Report
                                                                     500 W. 1st Street
                                                                     Jacksonville, FL 32202

                                                                                                                                                                                                                                                                                     1.00
                                                                     Sheet no.       9 of      20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                390.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 28 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                                 AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                             OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                                CLAIM




                                                                     ACCOUNT NO. 4366-1330-2678-1871                                                J Revolving Credit Card 03/03                                                                     X
                                                                     First Usa Bank                                                                   $0 Balance on Credit Report
                                                                     Po Box 8650
                                                                     Wilmington, DE 19899

                                                                                                                                                                                                                                                                                       1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     First Usa Bank                                                                                    First Usa Bank
                                                                     CHASE CARD SERVICES/ATTN: BANKRUPTCY DEP
                                                                     Po Box 15298
                                                                     Wilmington, DE 19850
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                                                                     ACCOUNT NO. 05-2010-CA-26091                                   X                                  Plaintiff in Lawsuit
                                                                     FirstBank Puerto Rico
                                                                     701 Waterford Way Ste 810
                                                                     Miami, FL 33126

                                                                                                                                                                                                                                                                                4,279,384.75
                                                                     ACCOUNT NO. xxx-xx-0063 xxx-xx-9727                                            J Notice Only
                                                                     Florida Department Of Revenue
                                                                     PO Box 6668
                                                                     Tallahassee, FL 32314-6668

                                                                                                                                                                                                                                                                                       0.00
                                                                     ACCOUNT NO. ***-**-0063                                                      H business partner
                                                                     Francisco Rodriguez
                                                                     5051 SW 163 Ave
                                                                     SW Ranches, FL 33331

                                                                                                                                                                                                                                                                                       1.00
                                                                     ACCOUNT NO. xxx-xx-0063/9727                                                   J Notice
                                                                     Francisco Rodriguez
                                                                     5051 SW 163 Avenue
                                                                     SW Ranches, FL 33331

                                                                                                                                                                                                                                                                                       0.00
                                                                     ACCOUNT NO. 6019170107489459                                                 H Revolving Credit Card 11/11                                                                       X
                                                                     Gecrb/brandsmart                                                               $0 Balance on Credit Report
                                                                     Po Box 965036
                                                                     Orlando, FL 32896

                                                                                                                                                                                                                                                                                       1.00
                                                                     Sheet no.     10 of       20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $ 4,279,387.75
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 29 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Gecrb/brandsmart                                                                                  Gecrb/brandsmart
                                                                     ATTENTION: BANKRUPTCY
                                                                     Po Box 103104
                                                                     Roswell, GA 30076

                                                                     ACCOUNT NO. 601917010341                                                    W Revolving Credit Card 11/07                                                                        X
                                                                     Gecrb/brandsmart                                                              $0 Balance on Credit Report
                                                                     Po Box 965036
                                                                     Orlando, FL 32896
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                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 6019180365664248                                                W Revolving Credit Card 11/11                                                                        X
                                                                     Gecrb/care Credit                                                             $0 Balance on Credit Report
                                                                     Po Box 965036
                                                                     Orlando, FL 32896

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 6019180333051817                                                   J Revolving Credit Card 11/11                                                                     X
                                                                     Gecrb/care Credit                                                                $0 Balance on Credit Report
                                                                     Po Box 981439
                                                                     El Paso, TX 79998

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Gecrb/care Credit                                                                                 Gecrb/care Credit
                                                                     ATTENTION: BANKRUPTCY
                                                                     Po Box 103104
                                                                     Roswell, GA 30076

                                                                     ACCOUNT NO. 6019180333051783                                                W Revolving Credit Card 11/11                                                                        X
                                                                     Gecrb/carecr                                                                  $0 Balance on Credit Report
                                                                     Po Box 981439
                                                                     El Paso, TX 79998

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Gecrb/carecr                                                                                      Gecrb/carecr
                                                                     ATTENTION: BANKRUPTCY
                                                                     Po Box 103104
                                                                     Roswell, GA 30076

                                                                     Sheet no.     11 of       20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                  4.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 30 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 6019190201740144                                                W Revolving Credit Card 02/08                                                                        X
                                                                     Gecrb/city Furniture                                                          $0 Balance on Credit Report
                                                                     Po Box 981439
                                                                     El Paso, TX 79998

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Gecrb/city Furniture                                                                              Gecrb/city Furniture
                                                                     ATTENTION: BANKRUPTCY
                                                                     Po Box 103104
                                                                     Roswell, GA 30076
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                                                                     ACCOUNT NO. 6019190202700162                                                W Revolving Credit Card 11/11                                                                        X
                                                                     Gecrb/city Furniture                                                          $0 Balance on Credit Report
                                                                     Po Box 981439
                                                                     El Paso, TX 79998

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Gecrb/city Furniture                                                                              Gecrb/city Furniture
                                                                     ATTENTION: BANKRUPTCY
                                                                     Po Box 103104
                                                                     Roswell, GA 30076

                                                                     ACCOUNT NO. 7981924108311952                                                 H Revolving Credit Card 11/11                                                                       X
                                                                     Gecrb/ge Money Bank Lo                                                         $0 Balance on Credit Report
                                                                     Po Box 956005
                                                                     Orlando, FL 32896

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Gecrb/ge Money Bank Lo                                                                            Gecrb/ge Money Bank Lo
                                                                     ATTENTION: BANKRUPTCY DEPARTMENT
                                                                     Po Box 103104
                                                                     Roswell, GA 30076

                                                                     ACCOUNT NO. 601919054011                                                     H Revolving Credit Card 12/01                                                                       X
                                                                     Gecrb/home Design                                                              $0 Balance on Credit Report
                                                                     Po Box 981439
                                                                     El Paso, TX 79998

                                                                                                                                                                                                                                                                                     1.00
                                                                     Sheet no.     12 of       20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                  4.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 31 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 601921001082                                                       J Revolving Credit Card 12/07                                                                     X
                                                                     Gecrb/home Dsgn Floori                                                           $0 Balance on Credit Report
                                                                     Po Box 981439
                                                                     El Paso, TX 79998

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 44-2008-CA-000732                                                                     Co-Defendant in Lawsuit                                                        X
                                                                     Grisel Alonso, Esq
                                                                     Asst. U.S. Attorney For Usa
                                                                     99 Ne 4th St Ste 300
                                                                     Miami, FL 33132
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                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 0312103394                                                      W Revolving Credit Card 09/02                                                                        X
                                                                     Hfc                                                                           $0 Balance on Credit Report
                                                                     Po Box 3425
                                                                     Buffalo, NY 14240

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 0312103345                                                       H Revolving Credit Card 09/02                                                                       X
                                                                     Hfc                                                                            $0 Balance on Credit Report
                                                                     Po Box 3425
                                                                     Buffalo, NY 14240

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 31174200192548                                                  W Installment Loan 01/05                                                                             X
                                                                     Hfc - Usa                                                                     $0 Balance on Credit Report
                                                                     Po Box 3425
                                                                     Buffalo, NY 14240

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 00926626-26-34701                                                H Medical Services 09/11
                                                                     Inphynet South Broward, Inc.
                                                                     Platation Billing Center
                                                                     PO Box 189016
                                                                     Plantation, FL 33318-9016
                                                                                                                                                                                                                                                                                   764.00
                                                                     ACCOUNT NO. xxx-xx-0063 xxx-xx-9727                                            J Notice Only
                                                                     Internal Revenue Service
                                                                     PO Box 21126
                                                                     Philadelphia, PA 19114-0326

                                                                                                                                                                                                                                                                                     0.00
                                                                     Sheet no.     13 of       20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                769.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 32 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 24089782                                                         H Auto Loan 04/02                                                                                   X
                                                                     Jaguar Credit                                                                  $0 Balance on Credit Report
                                                                     P. O. Box 542000
                                                                     Omaha, NE 68154

                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Jaguar Credit                                                                                     Jaguar Credit
                                                                     Po Box 6275
                                                                     Dearborn, MI 48121
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                                                                     ACCOUNT NO. xxx-xx-0063/9727                                                   J Notice
                                                                     Jorge Quintana
                                                                     8785 NW 162 Street
                                                                     Miami Lakes, FL 33016

                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO. ***-**-0063                                                      H HOA RA
                                                                     Jose Quintana
                                                                     8004 NW 154th Street Ste 243
                                                                     Miami Lakes, FL 33016

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. xxx-xx-0063/9727                                                   J Notice
                                                                     Jose Ramirez
                                                                     5001 SW 168 Avenue
                                                                     SW Ranches, FL 33331

                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO. 05-2010-CA-26091                                                                      Co-Defendant in Lawsuit                                                        X
                                                                     Julio Quintana
                                                                     3120 SW 194 Terrace
                                                                     Miramar, FL 33029

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. xxx-xx-0063/9727                                                   J Notice
                                                                     Kevin Krippen
                                                                     4 Park Street South
                                                                     Hackendack, NJ 07606

                                                                                                                                                                                                                                                                                     0.00
                                                                     Sheet no.     14 of       20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                  2.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 33 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 20401601383                                                      H Installment Loan 10/02                                                                            X
                                                                     Keybank Ntl                                                                    $0 Balance on Credit Report
                                                                     4910 Tiedeman Road
                                                                     Brooklyn, OH 44144

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 44-2008-CA-000732                                                                     Former Attorney for Plaintiff Bank of America N.a.                             X
                                                                     Law Offices of David J. Stern, P.A.                                                               (8953) 01/10
                                                                     900 S Pine Island Rd Ste 400
                                                                     Plantation, FL 33324-3920
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                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Bank Of America, N.a.                                                                             Law Offices of David J. Stern, P.A.
                                                                     450 American St
                                                                     Simi Valley, CA 93065-6285



                                                                     ACCOUNT NO. 4077221030                                                         J Auto Loan 04/05                                                                                 X
                                                                     Lexus Financial Servic                                                           $0 Balance on Credit Report
                                                                     12735 Morris Rd
                                                                     Alpharetta, GA 30004

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 05-2010-CA-26091                                                                      Co-Defendant in Lawsuit                                                        X
                                                                     Marzak, Inc
                                                                     791 Park Of Commerce Drive
                                                                     Boca Raton, FL 33487

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 1010000000479564                                                 H Revolving Credit Card 04/05                                                                       X
                                                                     Mayors Jewelers Inc                                                            $0 Balance on Credit Report
                                                                     5870 North Hiatus Road
                                                                     Tamarac, FL 33321

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 7000114546                                                       H Auto Loan 01/07                                                                                   X
                                                                     Mb Fin Svcs                                                                    $0 Balance on Credit Report
                                                                     P.o. Box 961
                                                                     Roanoke, TX 76262

                                                                                                                                                                                                                                                                                     1.00
                                                                     Sheet no.     15 of       20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                  6.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 34 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 7001667782                                                       H Auto Loan 12/07                                                                                   X
                                                                     Mb Fin Svcs                                                                    $0 Balance on Credit Report
                                                                     P.o. Box 961
                                                                     Roanoke, TX 76262

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 0783903110915                                                    H Medical Services 09/11
                                                                     Memorial Healthcare System
                                                                     2900 Corporate Way
                                                                     Miramar, FL 33025-3925
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                                                                                                                                                                                                                                                                                   493.00
                                                                     ACCOUNT NO. 44-2008-CA-000732                                                                     Attorney for Plaintiff Bank of America N.a. (8953)                             X
                                                                     Morales Law Group, P.A.                                                                           05/11
                                                                     14750 Nw 77th Ct Ste 303
                                                                     Miami Lakes, FL 33016

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Bank Of America, N.a.                                                                             Morales Law Group, P.A.
                                                                     450 American St
                                                                     Simi Valley, CA 93065-6285



                                                                     ACCOUNT NO. 44-2008-CA-000732                                                                     Co-Defendant in Lawsuit                                                        X
                                                                     Mortgage Electronic Regist. Syst. Inc.
                                                                     3300 SW 34th Ave Ste 101
                                                                     Ocala, FL 34474-4438

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 05-2010-CA-26091                                                                      Defendant in Lawsuit                                                           X
                                                                     Palm Bay 17, Llc
                                                                     8004 Nw 154th St Ste 243
                                                                     Miami Lakes, FL 33016

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 92933558-11                                                                           Collection Agency for Citi (1122) 08/11                                        X
                                                                     Plaza Associates
                                                                     PO Box 2770
                                                                     New York, NY 10116-2770

                                                                                                                                                                                                                                                                                     1.00
                                                                     Sheet no.     16 of       20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                498.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 35 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Citi                                                                                              Plaza Associates
                                                                     PO Box 6500
                                                                     Sioux Falls, SD 57117-6500



                                                                     ACCOUNT NO. 909716-QRAH1                                                     H Medical Services 09/11
                                                                     Radiology Assoc. Of Hollywood, P.A.
                                                                     9050 Pines Blvd Ste 200
                                                                     Pembroke Pines, FL 33024-6456
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                                                                                                                                                                                                                                                                                    45.00
                                                                     ACCOUNT NO. 5121-0718-3859-6900                                             W Revolving Credit Card 09/08                                                                        X
                                                                     Sears/cbna                                                                    $0 Balance on Credit Report
                                                                     Po Box 6189
                                                                     Sioux Falls, SD 57117

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 13277411                                                         H Medical Services 08/11-11/11
                                                                     Sheldon M.D.
                                                                     C/O First Federal Credit C
                                                                     24700 Chagrin Blvd Ste 2
                                                                     Cleveland, OH 44122
                                                                                                                                                                                                                                                                                   315.00
                                                                     ACCOUNT NO. 2404553ho00010000                                                H Medical Services 07/08-11/08
                                                                     Sheridan Healthcorp Inc.
                                                                     C/O Nationwide Recovery Se
                                                                     Po box 8005
                                                                     Cleveland, TN 37320
                                                                                                                                                                                                                                                                                   158.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Nationwide Recovery Se                                                                            Sheridan Healthcorp Inc.
                                                                     ATTN: BANKRUPTCY
                                                                     Po Box 8005
                                                                     Cleveland, TN 37320

                                                                     ACCOUNT NO. 9061261024547260                                                W Installment Loan 09/07                                                                             X
                                                                     Springleaf Financial S                                                        $0 Balance on Credit Report
                                                                     Po Box 22217
                                                                     Hialeah, FL 33012

                                                                                                                                                                                                                                                                                     1.00
                                                                     Sheet no.     17 of       20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                520.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 36 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 12280089                                                                              Collection Agency for Bank of America (8299)                                   X
                                                                     Sunrise Credit Services, Inc.                                                                     09/11
                                                                     PO Box 9100
                                                                     Farmingdale, NY 11735-9100

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Bank Of America                                                                                   Sunrise Credit Services, Inc.
                                                                     4161 Piedmont Pkwy
                                                                     Greensboro, NC 27410
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                                                                     ACCOUNT NO. 70200007021363150                                                H Auto Repo: 12/07-11/11
                                                                     Suntrust Bank
                                                                     Po Box 85052
                                                                     Richmond, VA 23285

                                                                                                                                                                                                                                                                                11,632.00
                                                                     ACCOUNT NO. 05-2010-CA-26091                                                                      Co-Defendant in Lawsuit                                                        X
                                                                     Teresa Quintana
                                                                     3120 SW 194 Terrace
                                                                     Miramar, FL 33029

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 05-2010-CA-26091                                                                      Attorney for Plaintiff FirstBank Puerto Rico 04/10                             X
                                                                     Thompson Berges P.A.
                                                                     1111 Brickell Ave, 11th Fl
                                                                     Miami, FL 33131

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     FirstBank Puerto Rico                                                                             Thompson Berges P.A.
                                                                     701 Waterford Way Ste 810
                                                                     Miami, FL 33126



                                                                     ACCOUNT NO. 18024831001                                                     W Medical Services 05/09-08/11
                                                                     Towncare Dental
                                                                     C/O I C System Inc
                                                                     Po Box 64378
                                                                     Saint Paul, MN 55164
                                                                                                                                                                                                                                                                                   900.00
                                                                     Sheet no.     18 of       20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             12,535.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 37 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                          Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     I C System Inc                                                                                    Towncare Dental
                                                                     Po Box 64378
                                                                     St. Paul, MN 55164



                                                                     ACCOUNT NO. 4077290286                                                       H Auto Loan 07/09                                                                                   X
                                                                     Toyota Motor Credit Co                                                         $0 Balance on Credit Report
                                                                     12735 Morris Road Ext #
                                                                     Alpharetta, GA 30004
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                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. xxx-xx-0063 xxx-xx-9727                                            J Notice Only
                                                                     Transunion
                                                                     PO Box 1000
                                                                     Chester, PA 19016-1000

                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO. xxx-xx-0063/9727                                                   J Notice
                                                                     Vincent And Christina Lombardo
                                                                     689 SW 168 Way
                                                                     Pembroke Pines, FL 33331

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. ***-**-0063                                                      H business partner
                                                                     Vincent Lombardo & Christina Lombardo
                                                                     689 SW 168 Way
                                                                     Pembroke Pines, FL 33027

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 4386-5403-1177-8162                                                J Creditline 05/11                                                                                X
                                                                     Wf/wb                                                                            $0 Balance on Credit Report
                                                                     Po Box 3117
                                                                     Winston Salem, NC 27102

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Wf/wb                                                                                             Wf/wb
                                                                     PO BOX 31557
                                                                     Mac B6955-01b
                                                                     Billings, MT 59107

                                                                     Sheet no.     19 of       20 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                  4.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07)Case
                                                                                                   - Cont.    11-45231-RAM                                             Doc 1      Filed 12/28/11             Page 38 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                                         Case No.
                                                                                                                             Debtor(s)                                                                                                              (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                   DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                             AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                         OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                            CLAIM




                                                                     ACCOUNT NO. 4386-5403-1118-5723                                              H Revolving Credit Card 12/08                                                                     X
                                                                     Wf/wb                                                                          $0 Balance on Credit Report
                                                                     Po Box 3117
                                                                     Winston Salem, NC 27102

                                                                                                                                                                                                                                                                                   1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Wf/wb                                                                                             Wf/wb
                                                                     PO BOX 31557
                                                                     Mac B6955-01b
                                                                     Billings, MT 59107
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                                                                     ACCOUNT NO. 4386-5403-1124-9149                                              H Revolving Credit Card 07/07                                                                     X
                                                                     Wf/wb                                                                          $0 Balance on Credit Report
                                                                     Po Box 3117
                                                                     Winston Salem, NC 27102

                                                                                                                                                                                                                                                                                   1.00
                                                                     ACCOUNT NO.                                                                                       Assignee or other notification for:
                                                                     Wf/wb                                                                                             Wf/wb
                                                                     PO BOX 31557
                                                                     Mac B6955-01b
                                                                     Billings, MT 59107

                                                                     ACCOUNT NO. 5774421170112651                                                 H Revolving Credit Card 09/09                                                                     X
                                                                     Wffnatbank                                                                     $0 Balance on Credit Report
                                                                     Po Box 94498
                                                                     Las Vegas, NV 89193

                                                                                                                                                                                                                                                                                   1.00
                                                                     ACCOUNT NO. ***-**-0063                                                      H HOA
                                                                     Whispering Palms Condo Association
                                                                     13200 Wilcox Rd
                                                                     Largo, FL 33774

                                                                                                                                                                                                                                                                                   1.00
                                                                     ACCOUNT NO. xxx-xx-0063/9727                                                   J Notice
                                                                     Whispering Palms Condominium Assn
                                                                     13200 WIlcox Road
                                                                     Largo, FL 33774

                                                                                                                                                                                                                                                                                   0.00
                                                                     Sheet no.     20 of       20 continuation sheets attached to                                                                                                      Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                            (Total of this page) $                                  4.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $ 5,612,244.61
                                                                     B6G (Official Form 6G) (12/07)Case          11-45231-RAM                   Doc 1          Filed 12/28/11               Page 39 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                         Case No.
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                     B6H (Official Form 6H) (12/07)Case          11-45231-RAM                    Doc 1          Filed 12/28/11               Page 40 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                          Case No.
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR


                                                                     Hart, James W Jr.                                                                         Catalina Isles Condomium Association,Inc
                                                                     Sentry Manangement, Inc.                                                                  2180 W Sr 434 Ste 5000
                                                                     2180 W Sr 434 Ste 5000                                                                    Longwood, FL 32779
                                                                     Lonwood, FL 32779
                                                                     Palm Bay 17, LLC                                                                          FirstBank Puerto Rico
                                                                     8004 NW 154th St Ste 243                                                                  701 Waterford Way Ste 810
                                                                     Miami Lakes, FL 33016                                                                     Miami, FL 33126
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                                                                     B6I (Official Form 6I) (12/07)   Case 11-45231-RAM                      Doc 1         Filed 12/28/11              Page 41 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                    Case No.
                                                                                                                               Debtor(s)                                                                                     (If known)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                     are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this form may differ from the current
                                                                     monthly income calculated on From 22A, 22B, or 22C.
                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Married                                     RELATIONSHIP(S):                                                                                             AGE(S):
                                                                                                                  Son                                                                                                          16
                                                                                                                  Daughter                                                                                                     14




                                                                      EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE
                                                                      Occupation                Preident/Owner                                                         Housewife
                                                                      Name of Employer          Global Group Management, Inc.                                          N/A
                                                                      How long employed         4 years and 4 months
                                                                      Address of Employer



                                                                     INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $                               $
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                                                                     2. Estimated monthly overtime                                                                                            $                               $
                                                                     3. SUBTOTAL                                                                                                              $                       0.00 $                          0.00
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                               $
                                                                       b. Insurance                                                                                                           $                               $
                                                                       c. Union dues                                                                                                          $                               $
                                                                       d. Other (specify)                                                                                                     $                               $
                                                                                                                                                                                              $                               $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                       0.00 $                          0.00
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $                       0.00 $                          0.00

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $             11,589.68 $
                                                                     8. Income from real property                                                                                             $                950.00 $
                                                                     9. Interest and dividends                                                                                                $                               $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                               $
                                                                     11. Social Security or other government assistance
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                     12. Pension or retirement income                                                                                         $                               $
                                                                     13. Other monthly income
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                                                                                                                                              $                               $

                                                                     14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $             12,539.68 $
                                                                     15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $             12,539.68 $                               0.00

                                                                     16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                     if there is only one debtor repeat total reported on line 15)                                                                            $              12,539.68
                                                                                                                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None
                                                                     B6J (Official Form 6J) (12/07) Case       11-45231-RAM                  Doc 1          Filed 12/28/11              Page 42 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                     Case No.
                                                                                                                               Debtor(s)                                                                               (If known)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                     quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income allowed
                                                                     on Form22A or 22C.
                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $              650.00
                                                                         a. Are real estate taxes included? Yes      No ü
                                                                         b. Is property insurance included? Yes      No ü
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                                $              450.00
                                                                         b. Water and sewer                                                                                                                             $               55.00
                                                                         c. Telephone                                                                                                                                   $               65.00
                                                                         d. Other See Schedule Attached                                                                                                                 $              196.00
                                                                                                                                                                                                                        $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                           $              235.00
                                                                     4. Food                                                                                                                                            $              800.00
                                                                     5. Clothing                                                                                                                                        $              200.00
                                                                     6. Laundry and dry cleaning                                                                                                                        $
                                                                     7. Medical and dental expenses                                                                                                                     $
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                                                                     8. Transportation (not including car payments)                                                                                                     $              200.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $              100.00
                                                                     10. Charitable contributions                                                                                                                       $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                     $
                                                                         b. Life                                                                                                                                        $              250.00
                                                                         c. Health                                                                                                                                      $
                                                                         d. Auto                                                                                                                                        $                95.00
                                                                         e. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify) Property Taxes                                                                                                                       $              730.00
                                                                                                                                                                                                                        $
                                                                     13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                        $
                                                                         b. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                               $
                                                                     15. Payments for support of additional dependents not living at your home                                                                          $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $            7,790.37
                                                                     17. Other Mortgage On Rental Property                                                                                                              $              495.00
                                                                                    HOA On Rental Property                                                                                                              $              131.00
                                                                                    Property Taxes On Rental Property                                                                                                   $              175.00

                                                                     18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                     applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $           12,617.37


                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Average monthly income from Line 15 of Schedule I                                                                                           $           12,539.68
                                                                         b. Average monthly expenses from Line 18 above                                                                                                 $           12,617.37
                                                                         c. Monthly net income (a. minus b.)                                                                                                            $              -77.69
                                                                                            Case 11-45231-RAM        Doc 1    Filed 12/28/11     Page 43 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                            Case No.
                                                                                                         Debtor(s)

                                                                                       SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                              Continuation Sheet - Page 1 of 1

                                                                     Other Utilities (DEBTOR)
                                                                     Cable TV                                                                                    65.00
                                                                     Alarm                                                                                       66.00
                                                                     Internet                                                                                    65.00
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                                                                     B6 Declaration (Official Form Case     11-45231-RAM
                                                                                                   6 - Declaration) (12/07)                  Doc 1         Filed 12/28/11              Page 44 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                                                                   Case No.
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      38 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.

                                                                     Date: December 28, 2011                              Signature: /s/ Angel Lage
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       Angel Lage

                                                                     Date: December 28, 2011                              Signature: /s/ Marlene Lage
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                       Marlene Lage
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                               Case 11-45231-RAM             Doc 1      Filed 12/28/11     Page 45 of 72
                                                                                                                     United States Bankruptcy Court
                                                                                                                       Southern District of Florida

                                                                     IN RE:                                                                                 Case No.
                                                                     Lage, Angel & Lage, Marlene                                                            Chapter 7
                                                                                                              Debtor(s)

                                                                                                                BUSINESS INCOME AND EXPENSES
                                                                     FINANCIAL REVIEW OF THE DEBTOR’S BUSINESS (Note: ONLY INCLUDE information directly related to the business
                                                                     operation.)

                                                                     PART A - GROSS BUSINESS INCOME FOR THE PREVIOUS 12 MONTHS:

                                                                       1. Gross Income For 12 Months Prior to Filing:                                       $

                                                                     PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

                                                                       2. Gross Monthly Income:                                                                                    $   11,589.68

                                                                     PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

                                                                       3.   Net Employee Payroll (Other Than Debtor)                                        $
                                                                       4.   Payroll Taxes                                                                   $
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                                                                       5.   Unemployment Taxes                                                              $
                                                                       6.   Worker’s Compensation                                                           $
                                                                       7.   Other Taxes                                                                     $
                                                                       8.   Inventory Purchases (Including raw materials)                                   $
                                                                       9.   Purchase of Feed/Fertilizer/Seed/Spray                                          $
                                                                      10.   Rent (Other than debtor’s principal residence)                                  $             55.00
                                                                      11.   Utilities                                                                       $            582.62
                                                                      12.   Office Expenses and Supplies                                                    $             29.73
                                                                      13.   Repairs and Maintenance                                                         $            313.63
                                                                      14.   Vehicle Expenses                                                                $             97.54
                                                                      15.   Travel and Entertainment                                                        $              5.00
                                                                      16.   Equipment Rental and Leases                                                     $
                                                                      17.   Legal/Accounting/Other Professional Fees                                        $
                                                                      18.   Insurance                                                                       $
                                                                      19.   Employee Benefits (e.g., pension, medical, etc.)                                $
                                                                      20.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
                                                                            Business Debts (Specify):                                                       $




                                                                      21. Other (Specify):                                                                  $           6,706.85
                                                                            See Continuation Sheet




                                                                      22. Total Monthly Expenses (Add items 3-21)                                                                  $    7,790.37

                                                                     PART D - ESTIMATED AVERAGE NET MONTHLY INCOME

                                                                      23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                                $    3,799.31
                                                                                           Case 11-45231-RAM           Doc 1     Filed 12/28/11   Page 46 of 72
                                                                     IN RE Lage, Angel & Lage, Marlene                                             Case No.
                                                                                                          Debtor(s)

                                                                                                         BUSINESS INCOME AND EXPENSES
                                                                                                               Continuation Sheet - Page 1 of 1

                                                                     Other:
                                                                     Interest Expense                                 5,883.33
                                                                     Landscaping                                         83.33
                                                                     Telephone                                          281.95
                                                                     Trash                                              448.24
                                                                     Bank Service Charge                                 10.00
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                                                                     B7 (Official Form 7) (04/10)   Case 11-45231-RAM                   Doc 1        Filed 12/28/11             Page 47 of 72
                                                                                                                              United States Bankruptcy Court
                                                                                                                               Southern District of Florida

                                                                     IN RE:                                                                                                       Case No.
                                                                     Lage, Angel & Lage, Marlene                                                                                  Chapter 7
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                     or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                AMOUNT SOURCE
                                                                               138,000.00 2011 - Estimated gross income from business YTD
                                                                             -2,930,590.00 2010 - Joint Income Tax Return
                                                                                -53,297.00 2009 - Joint Income Tax Return

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                AMOUNT SOURCE
                                                                               159,961.00 2010 - Estimated Rental Income
                                                                               107,973.00 2009 - Estimated Rental Income
                                                                                 11,400.00 2011 - Estimated Rental Income YTD
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                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                             debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                                                                                                                 AMOUNT                AMOUNT
                                                                     NAME AND ADDRESS OF CREDITOR                                     DATES OF PAYMENTS                                              PAID          STILL OWING
                                                                     Bank Of America, N.a.                                            3 month period                                              1,485.00             73,830.00
                                                                     450 American St
                                                                     Simi Valley, CA 93065
                                                                     Bank Of America, N.a.                                            3 month period                                                650.00            221,304.00
                                                                     4161 Piedmont Pkwy
                                                                     Greensboro, NC 27410
                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                      ü      preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $5,850.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                             * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      ü      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     CAPTION OF SUIT                                                                      COURT OR AGENCY                            STATUS OR
                                                                     AND CASE NUMBER                            NATURE OF PROCEEDING                      AND LOCATION                               DISPOSITION
                                                                     First Bank Puerto Rico vs Plam             Business debt                             18th Judicial Circuit Court                Pending
                                                                     Bay 17, LLC, Angel Lage,                                                             Brevard County Florida
                                                                     Marlene Lage, et al
                                                                     Case No.: 05-2010-CA 26091
                                                                     WellsFargo Bank as trustee vs              Foreclosure                               16th Judicial Circuit Court                Final Judgment
                                                                     Angel Lage, et al                                                                    Monroe County Florida
                                                                     Case No.: 44-2008-CA-000732
                                                                     Metro Bank of Dade County vs.              Mortgage Foreclosure                      Miami Dade COunty Circuit Court Pending
                                                                     International Plaza Auditorium
                                                                     Corp., Marlene Lage, et. al. -
                                                                     10-00683 CA 23
                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                             the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                                                                      DATE OF REPOSSESSION,
                                                                                                                                      FORECLOSURE SALE,                   DESCRIPTION AND VALUE
                                                                     NAME AND ADDRESS OF CREDITOR OR SELLER                           TRANSFER OR RETURN                  OF PROPERTY
                                                                     Suntrust Bank                                                    12/2011                             2008 F350 Crew Pickup
                                                                     Po Box 85052
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                                                                     Richmond, VA 23285

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
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                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Timothy S Kingcade                                                10/2011 thru 12/2011                                                 3,550.00
                                                                     Kingcade & Garcia, PA
                                                                     1370 Coral Way
                                                                     Miami, FL 33145-2960
                                                                     Attorney's fees $3,000
                                                                     Court filing fees $306
                                                                     Office cost $44
                                                                     Credit report cost $150
                                                                     Budget briefing session $50

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                      ü      absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                      ü      device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                             transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)
                                                                                                                                       TYPE AND NUMBER OF ACCOUNT                     AMOUNT AND DATE OF SALE
                                                                     NAME AND ADDRESS OF INSTITUTION                                   AND AMOUNT OF FINAL BALANCE                    OR CLOSING
                                                                     Wachovia                                                          Essential Buisness Checking                    Cloaed 04/2011 - $0 balance
                                                                     Miami Lakes Branch, FL                                            Accoutn for Silver Knights
                                                                                                                                       Investments Corp. Acc. No. X4083
                                                                     Wachovia                                                          Custom Business Checking                       Claosed 05/2011 - $0 balance
                                                                                                    Case 11-45231-RAM                   Doc 1        Filed 12/28/11             Page 50 of 72
                                                                     Miami Lakes Branch, FL                                           Accoutn for Catalina Isles
                                                                                                                                      Condominium, LLC. Accoutn No.
                                                                                                                                      X3453

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                      ü      that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
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                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
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                                                                                                    LAST FOUR DIGITS
                                                                                                    OF SOCIAL-
                                                                                                    SECURITY OR OTHER
                                                                                                    INDIVIDUAL
                                                                                                    TAXPAYER-I.D. NO.                                                                  NATURE OF            BEGINNING AND
                                                                     NAME                           (ITIN)/COMPLETE EIN ADDRESS                                                        BUSINESS             ENDING DATES
                                                                     Global Group Manangement, Inc. XX-XXXXXXX          8004 NW 154th St                                               Property             08/2007 to
                                                                                                                        Miami Lakes, FL 33016                                          Management           present
                                                                     Lage Financial Mortgage Corp.               XX-XXXXXXX                   2140 W 68 St Apt 301-B                   Mortgage Broker 01/2000 to
                                                                                                                                              Hialeah, FL 33016                                        09/2006
                                                                     Little Palm Bay, LLC                        XX-XXXXXXX                   8004 NW 154th Street Ste 108             Property             06/2006 to
                                                                                                                                              Miami Lakes, FL 33016                    investment           09/2011
                                                                                                                                                                                                            Ceased
                                                                                                                                                                                                            operation 2008
                                                                     Whispering Palms Condo                                                   13200 Wilcox Rd                          HOA                  2006 to present
                                                                     Association                                                              Largo, FL 33774                          Non-for profit       Debtor owns no
                                                                                                                                                                                       organization         shares
                                                                     Little Moments Preschool Corp.                                           12975 W Okeechobee Rd Ste 9 Day Care                          2008 to 2009
                                                                                                                                              Hialeah, FL 33018
                                                                     Precious Time Day Care &                                                 17601 NW 78 Ave                          Day Care             2002 to 2006
                                                                     Learning Ctr                                                             Hialeah, FL 33015
                                                                     Premier One Investmens, Inc.                XX-XXXXXXX                   8004 NW 154 St Ste 243                   Property             2005 to 2010
                                                                                                                                              Miami Lakes, FL 33016                    Investment
                                                                     Banana Cay Apts, Inc.                                                    401A Banana Cay Dr                       Property             1988 to 09/2011
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                                                                                                                                              Daytona Beach, FL 32119                  Investment           Ceased
                                                                                                                                                                                                            operation 2006
                                                                     Le Mar, LLC                                                              8004 NW 154 Street Ste 243               Property             2004 to 2008
                                                                                                                                              Miami Lakes, FL 33016                    Investment
                                                                     Magnolia Court Condomium, LLC.                                           8004 NW 154 Street, Ste 243              Non-for Profit       2005 to 2010
                                                                                                                                              Miami Lakes, FL 33016                    HOA
                                                                     Palm Bay 17, LLC                                                         8004 NW 154th St Ste 243                 Property             2006 - 2011
                                                                                                                                              Miami Lakes, FL 33016                    Investment
                                                                     Catalina Isles Condomium, LLC                                            8004 NW 154th St Ste 106                 Investment           07/2006 to
                                                                                                                                              Miami Lakes, FL 33016                    property             09/2011
                                                                                                                                                                                                            Ceased
                                                                                                                                                                                                            operation 2009
                                                                     Ocean Breeze Condominium, LLC                                            8004 NW 154 Street Ste 243               Property             2006 to 09/2011
                                                                                                                                              Miami Lakes, FL 33016                    investment           Business ceased
                                                                                                                                                                                                            operation 2009
                                                                     Lageville Plaza, LLC..                                                   8004 NW 154th St Ste 106                 Property             2007 to 09/2011
                                                                                                                                              Miami Lakes, FL 33016                    investment           Business ceased
                                                                                                                                                                                                            operation 2009
                                                                     Silver Kniths Ivestments, Corp.                                          8004 NW 154 St Ste 108                   Property             2006 to 09/2011
                                                                                                                                              Miami Lakes, FL 33016                    investment           Ceased
                                                                                                                                                                                                            operation 2010
                                                                     1st Choice Automotive Financial             XX-XXXXXXX                   LLC                           Auto Loan                       06/2010 through
                                                                     Services                                                                 8004 NW 154 STreet, SUite 108 Lender                          present
                                                                                                                                              Miami Lakes, FL 33016
                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü
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                                                                     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
                                                                     six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more than
                                                                     5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed
                                                                     in a trade, profession, or other activity, either full- or part-time.

                                                                     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within the six
                                                                     years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
                                                                     signature page.)

                                                                     19. Books, records and financial statements
                                                                      None   a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
                                                                      ü      keeping of books of account and records of the debtor.

                                                                      None   b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
                                                                      ü      and records, or prepared a financial statement of the debtor.

                                                                      None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
                                                                      ü      debtor. If any of the books of account and records are not available, explain.

                                                                      None   d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued
                                                                      ü      within the two years immediately preceding the commencement of the case by the debtor.

                                                                     20. Inventories
                                                                      None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
                                                                      ü
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                                                                             dollar amount and basis of each inventory.

                                                                      None   b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
                                                                      ü
                                                                     21. Current Partners, Officers, Directors and Shareholders
                                                                      None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
                                                                      ü
                                                                      None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
                                                                      ü      or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                     22. Former partners, officers, directors and shareholders
                                                                      None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
                                                                      ü      of this case.

                                                                      None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
                                                                      ü      preceding the commencement of this case.

                                                                     23. Withdrawals from a partnership or distributions by a corporation
                                                                      None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
                                                                      ü      bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
                                                                             case.

                                                                     24. Tax Consolidation Group
                                                                      None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
                                                                      ü      purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.

                                                                     25. Pension Funds.
                                                                      None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
                                                                      ü      has been responsible for contributing at any time within six years immediately preceding the commencement of the case.
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                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: December 28, 2011                    Signature /s/ Angel Lage
                                                                                                                of Debtor                                                                            Angel Lage

                                                                     Date: December 28, 2011                    Signature /s/ Marlene Lage
                                                                                                                of Joint Debtor                                                                   Marlene Lage
                                                                                                                (if any)

                                                                                                                                0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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                                                                                                    Case 11-45231-RAM            Doc 1       Filed 12/28/11     Page 54 of 72
                                                                     B8 (Official Form 8) (12/08)
                                                                                                                         United States Bankruptcy Court
                                                                                                                          Southern District of Florida

                                                                     IN RE:                                                                                       Case No.
                                                                     Lage, Angel & Lage, Marlene                                                                  Chapter 7
                                                                                                                  Debtor(s)

                                                                                                    CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                     PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
                                                                     estate. Attach additional pages if necessary.)
                                                                      Property No. 1
                                                                      Creditor’s Name:                                                       Describe Property Securing Debt:
                                                                      Bank Of America                                                        2791 LB McLeod Rd Unit 2791-B , Orlando FL 32805
                                                                      Property will be (check one):
                                                                         üSurrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                               (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
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                                                                          Claimed as exempt           üNot claimed as exempt
                                                                      Property No. 2 (if necessary)
                                                                      Creditor’s Name:                                                       Describe Property Securing Debt:
                                                                      Bank Of America                                                        2791 LB McLeod Rd Unit 2791-D , Orlando FL 32805
                                                                      Property will be (check one):
                                                                         üSurrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                               (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           üNot claimed as exempt
                                                                     PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                                                                     additional pages if necessary.)
                                                                      Property No. 1
                                                                      Lessor’s Name:                                      Describe Leased Property:                   Lease will be assumed pursuant to
                                                                                                                                                                      11 U.S.C. § 365(p)(2):
                                                                                                                                                                         Yes     No

                                                                      Property No. 2 (if necessary)
                                                                      Lessor’s Name:                                      Describe Leased Property:                   Lease will be assumed pursuant to
                                                                                                                                                                      11 U.S.C. § 365(p)(2):
                                                                                                                                                                         Yes     No
                                                                        2 continuation sheets attached (if any)
                                                                     I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
                                                                     personal property subject to an unexpired lease.

                                                                     Date:       December 28, 2011                     /s/ Angel Lage
                                                                                                                       Signature of Debtor
                                                                                                                       /s/ Marlene Lage
                                                                                                                       Signature of Joint Debtor
                                                                                                    Case 11-45231-RAM            Doc 1   Filed 12/28/11     Page 55 of 72
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                                                                                                    CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                                       (Continuation Sheet)

                                                                     PART A – Continuation
                                                                      Property No. 3
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      Bank Of America                                                    2791 LB McLeod Rd Unit 2791-D , Orlando FL 32805
                                                                      Property will be (check one):
                                                                         üSurrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           üNot claimed as exempt
                                                                      Property No. 4
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      Bank Of America, N.a.                                              7859 W 36 Ave Apt 204 Hialeah, FL 33018
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                                                                      Property will be (check one):
                                                                          Surrendered        ü
                                                                                            Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                         ü  Reaffirm the debt
                                                                            Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           üNot claimed as exempt
                                                                      Property No. 5
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      Bank Of America, N.a.                                              10478 NW 131 Street Hialeah Gardens, FL 33018
                                                                      Property will be (check one):
                                                                          Surrendered        ü
                                                                                            Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                         ü  Reaffirm the debt
                                                                            Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                         üClaimed as exempt             Not claimed as exempt


                                                                     PART B – Continuation
                                                                      Property No.
                                                                      Lessor’s Name:                                    Describe Leased Property:                 Lease will be assumed pursuant to
                                                                                                                                                                  11 U.S.C. § 365(p)(2):
                                                                                                                                                                     Yes     No

                                                                      Property No.
                                                                      Lessor’s Name:                                    Describe Leased Property:                 Lease will be assumed pursuant to
                                                                                                                                                                  11 U.S.C. § 365(p)(2):
                                                                                                                                                                     Yes     No

                                                                     Continuation sheet        1 of     2
                                                                                                    Case 11-45231-RAM            Doc 1   Filed 12/28/11     Page 56 of 72
                                                                     B8 (Official Form 8) (12/08)

                                                                                                    CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                                       (Continuation Sheet)

                                                                     PART A – Continuation
                                                                      Property No. 6
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      Bank Of America, N.a.                                              1521 Shaw Dr Key Largo, FL 33037
                                                                      Property will be (check one):
                                                                         üSurrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           üNot claimed as exempt
                                                                      Property No. 7
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      Central Loan Admin And R                                           1521 Shaw Dr Key Largo, FL 33037
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                                                                      Property will be (check one):
                                                                         üSurrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           üNot claimed as exempt
                                                                      Property No. 8
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      Wells Fargo Bank Nv Na                                             10478 NW 131 Street Hialeah Gardens, FL 33018
                                                                      Property will be (check one):
                                                                          Surrendered        ü
                                                                                            Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                         ü  Other. Explain Reaffirmed if mortgage modification is approved           (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                         üClaimed as exempt             Not claimed as exempt


                                                                     PART B – Continuation
                                                                      Property No.
                                                                      Lessor’s Name:                                    Describe Leased Property:                 Lease will be assumed pursuant to
                                                                                                                                                                  11 U.S.C. § 365(p)(2):
                                                                                                                                                                     Yes     No

                                                                      Property No.
                                                                      Lessor’s Name:                                    Describe Leased Property:                 Lease will be assumed pursuant to
                                                                                                                                                                  11 U.S.C. § 365(p)(2):
                                                                                                                                                                     Yes     No

                                                                     Continuation sheet        2 of     2
                                                                                             Case 11-45231-RAM             Doc 1       Filed 12/28/11      Page 57 of 72
                                                                                                                   United States Bankruptcy Court
                                                                                                                     Southern District of Florida

                                                                     IN RE:                                                                                  Case No.
                                                                     Lage, Angel & Lage, Marlene                                                             Chapter 7
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: December 28, 2011                Signature: /s/ Angel Lage
                                                                                                                        Angel Lage                                                               Debtor



                                                                     Date: December 28, 2011                Signature: /s/ Marlene Lage
                                                                                                                        Marlene Lage                                                 Joint Debtor, if any
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   Allied Interstate
   P.O. Box 5023
   New York, NY 10163


   Amerassist
   ATTN: KOVACKS
   460 Polaris Parkway                       Ste. 20
   Westerville, OH 43082


   American Honda Finance
   1030 Cambridge Squ
   Alpharetta, GA 30201


   Amex
   Po Box 297871
   Fort Lauderdale, FL      33329


   Amex
   AMERICAN EXPRESS SPECIAL RESEARCH
   Po Box 981540
   El Paso, TX 79998


   Assoc of S Miami, Patholo
   C/O First Federal Credit Control
   24700 Chagrin Blvd Ste 205
   Cleveland, OH 44122-5662


   Bank Of America
   4161 Piedmont Pkwy
   Greensboro, NC 27410


   Bank Of America
   Po Box 17054
   Wilmington, DE 19850
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   Bank Of America
   Po Box 1598
   Norfolk, VA 23501


   Bank Of America
   ATTN: BANKRUPTCY NC4-105-0299
   Po Box 26012
   Greensboro, NC 27410


   Bank Of America
   ATTENTION: RECOVERY DEPARTMENT
   4161 Peidmont Pkwy.
   Greensboro, NC 27410


   Bank Of America
   P.O. Box 940483
   Simi Valley, CA     93094-0483


   Bank Of America
   NY7-201-02-07
   5701Horarion St
   Utica, NY 13502-1024


   Bank Of America, N.a.
   450 American St
   Simi Valley, CA 93065


   Bank Of America, N.a.
   4161 Piedmont Pkwy
   Greensboro, NC 27410


   Bank Of America, N.a.
   4161 Piedmont Parkway
   Greensboro, NC 27410
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   Bank Of America, N.a.
   150 Allegheny Center Mall
   Pittsburgh, PA 15212


   Bank Of America, N.a.
   201 N Tryon St
   Charlotte, NC 28202


   Bank Of America, N.a.
   PNC
   Po Box 5570 Br-yb58-01-3
   Brecksville, OH 44141


   Bank Of America, N.a.
   ATTN: BANKRUPTCY NC4-105-0299
   Po Box 26012
   Greensboro, NC 27410


   Bank Of America, N.a.
   450 American St
   Simi Valley, CA 93065-6285


   Bk Of Amer
   Po Box 1598
   Norfolk, VA      23501


   Bk Of Amer
   ATTENTION: RECOVERY DEPARTMENT
   4161 Peidmont Pkwy.
   Greensboro, NC 27410


   Cap One
   Pob 30281
   Salt Lake City, UT        84130
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   Cap One
   CAPITAL ONE BANK (USA) N.A.
   Po Box 30285
   Salt Lake City, UT 84130


   Catalina Isles Condomium Association,Inc
   2180 W Sr 434 Ste 5000
   Longwood, FL 32779


   CBE Group
   1309 Technology Pkwy
   Cedar Falls, IA 50613-6976


   Cbna
   Po Box 6497
   Sioux Falls, SD     57117


   Cbna
   CITICORP CREDIT SERVICES/ATTN: CENTRALIZ
   Po Box 20363
   Kansas City, MO 64195


   Central Loan Admin       And   R
   425 Phillips Blvd.
   Ewing, NJ 08618


   Chase
   201 N. Walnut St//de1-1027
   Wilmington, DE 19801


   Chase
   2500 Westfield Dr
   Elgin, IL 60124
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   Chase
   ATTN: BANKRUPTCY
   Po Box 15145
   Wilmington, DE 19850


   Chase Auto
   Po Box 901076
   Fort Worth, TX     76101


   Chase Auto
   CHASE CARD SERVICES
   Po Box 15298
   Wilmington, DE 19850


   Chase Manhattan Mtge
   3415 Vision Dr
   Columbus, OH 43219


   Child Support Enforcemment
   PO Box 8030
   Tallahassee, FL 32314-8030


   Citi
   P.o. Box 6500
   Sioux Falls, SD     57117


   Citi
   CITICORPS CREDIT SERVICES/ATTENTION: CEN
   Po Box 20503
   Kansas City, MO 64195


   Citi
   ATTN: CENTRALIZED BANKRUPTCY
   Po Box 20507
   Kansas City, MO 64195
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   Citi
   PO Box 6500
   Sioux Falls, SD     57117-6500


   Citi Ctb
   Po Box 22066
   Tempe, AZ 85285


   Citi Ctb
   CITIFINANCIAL/ATTN: BANKRUPTCY DEPT
   Po Box 140489
   Irving, TX 75014


   Citi-shell
   Po Box 6497
   Sioux Falls, SD     57117


   Citi-shell
   ATTN.: CENTRALIZED BANKRUPTCY
   Po Box 20507
   Kansas City, MO 64195


   Department Of The Treasury
   PO Box 21126
   Philadelphia, PA 19114-0326


   Directv
   PO Box 78626
   Phoenix, AZ 85062-8626


   Dpi of Pembroke Pines
   C/O Amerassist
   8415 Pulsar Place
   Columbus, OH 43240
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   Dpi Of Pembroke Pines
   C/O Amerassist
   8415 Pulsar Place
   Columbus, OH 43240


   Eldorado Frn
   Cscl Dispute Team
   Des Moines, IA 50306


   Eldorado Frn
   BANKRUPTCY
   4137 121st St
   Urbandale, IA    50323


   Equifax
   PO Box 740241
   Atlanta, GA 30374-0241


   Experian
   PO Box 2002
   Allen, TX 75013-2002


   First Fl Cu
   500 W. 1st Street
   Jacksonville, FL 32202


   First Usa Bank
   Po Box 8650
   Wilmington, DE     19899


   First Usa Bank
   CHASE CARD SERVICES/ATTN: BANKRUPTCY DEP
   Po Box 15298
   Wilmington, DE 19850
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   FirstBank Puerto Rico
   701 Waterford Way Ste 810
   Miami, FL 33126


   Florida Department Of Revenue
   PO Box 6668
   Tallahassee, FL 32314-6668


   Francisco Rodriguez
   5051 SW 163 Ave
   SW Ranches, FL 33331


   Francisco Rodriguez
   5051 SW 163 Avenue
   SW Ranches, FL 33331


   Gecrb/brandsmart
   Po Box 965036
   Orlando, FL 32896


   Gecrb/brandsmart
   ATTENTION: BANKRUPTCY
   Po Box 103104
   Roswell, GA 30076


   Gecrb/care Credit
   Po Box 965036
   Orlando, FL 32896


   Gecrb/care Credit
   Po Box 981439
   El Paso, TX 79998
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   Gecrb/care Credit
   ATTENTION: BANKRUPTCY
   Po Box 103104
   Roswell, GA 30076


   Gecrb/carecr
   Po Box 981439
   El Paso, TX 79998


   Gecrb/carecr
   ATTENTION: BANKRUPTCY
   Po Box 103104
   Roswell, GA 30076


   Gecrb/city Furniture
   Po Box 981439
   El Paso, TX 79998


   Gecrb/city Furniture
   ATTENTION: BANKRUPTCY
   Po Box 103104
   Roswell, GA 30076


   Gecrb/ge Money Bank Lo
   Po Box 956005
   Orlando, FL 32896


   Gecrb/ge Money Bank Lo
   ATTENTION: BANKRUPTCY DEPARTMENT
   Po Box 103104
   Roswell, GA 30076


   Gecrb/home Design
   Po Box 981439
   El Paso, TX 79998
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   Gecrb/home Dsgn Floori
   Po Box 981439
   El Paso, TX 79998


   Grisel Alonso, Esq
   Asst. U.S. Attorney For Usa
   99 Ne 4th St Ste 300
   Miami, FL 33132


   Hfc
   Po Box 3425
   Buffalo, NY      14240


   Hfc - Usa
   Po Box 3425
   Buffalo, NY      14240


   I C System Inc
   Po Box 64378
   St. Paul, MN 55164


   Inphynet South Broward, Inc.
   Platation Billing Center
   PO Box 189016
   Plantation, FL 33318-9016


   Internal Revenue Service
   PO Box 21126
   Philadelphia, PA 19114-0326


   Jaguar Credit
   P. O. Box 542000
   Omaha, NE 68154
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   Jaguar Credit
   Po Box 6275
   Dearborn, MI 48121


   Jorge Quintana
   8785 NW 162 Street
   Miami Lakes, FL 33016


   Jose Quintana
   8004 NW 154th Street Ste 243
   Miami Lakes, FL 33016


   Jose Ramirez
   5001 SW 168 Avenue
   SW Ranches, FL 33331


   Julio Quintana
   3120 SW 194 Terrace
   Miramar, FL 33029


   Kevin Krippen
   4 Park Street South
   Hackendack, NJ 07606


   Keybank Ntl
   4910 Tiedeman Road
   Brooklyn, OH 44144


   Law Offices of David J. Stern, P.A.
   900 S Pine Island Rd Ste 400
   Plantation, FL 33324-3920


   Lexus Financial Servic
   12735 Morris Rd
   Alpharetta, GA 30004
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   Marzak, Inc
   791 Park Of Commerce Drive
   Boca Raton, FL 33487


   Mayors Jewelers Inc
   5870 North Hiatus Road
   Tamarac, FL 33321


   Mb Fin Svcs
   P.o. Box 961
   Roanoke, TX 76262


   Memorial Healthcare System
   2900 Corporate Way
   Miramar, FL 33025-3925


   Morales Law Group, P.A.
   14750 Nw 77th Ct Ste 303
   Miami Lakes, FL 33016


   Mortgage Electronic Regist. Syst. Inc.
   3300 SW 34th Ave Ste 101
   Ocala, FL 34474-4438


   Nationwide Recovery Se
   ATTN: BANKRUPTCY
   Po Box 8005
   Cleveland, TN 37320


   Palm Bay 17, Llc
   8004 Nw 154th St Ste 243
   Miami Lakes, FL 33016


   Plaza Associates
   PO Box 2770
   New York, NY 10116-2770
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   Radiology Assoc. Of Hollywood, P.A.
   9050 Pines Blvd Ste 200
   Pembroke Pines, FL 33024-6456


   Sears/cbna
   Po Box 6189
   Sioux Falls, SD     57117


   Sheldon M.D.
   C/O First Federal Credit C
   24700 Chagrin Blvd Ste 2
   Cleveland, OH 44122


   Sheridan Healthcorp Inc.
   C/O Nationwide Recovery Se
   Po box 8005
   Cleveland, TN 37320


   Springleaf Financial S
   Po Box 22217
   Hialeah, FL 33012


   Sunrise Credit Services, Inc.
   PO Box 9100
   Farmingdale, NY 11735-9100


   Suntrust Bank
   Po Box 85052
   Richmond, VA 23285


   Teresa Quintana
   3120 SW 194 Terrace
   Miramar, FL 33029
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   Thompson Berges P.A.
   1111 Brickell Ave, 11th Fl
   Miami, FL 33131


   Towncare Dental
   C/O I C System Inc
   Po Box 64378
   Saint Paul, MN 55164


   Toyota Motor Credit Co
   12735 Morris Road Ext #
   Alpharetta, GA 30004


   Transunion
   PO Box 1000
   Chester, PA      19016-1000


   Vincent And Christina Lombardo
   689 SW 168 Way
   Pembroke Pines, FL 33331


   Vincent Lombardo & Christina Lombardo
   689 SW 168 Way
   Pembroke Pines, FL 33027


   Wells Fargo Bank Na
   Po Box 31557
   Billings, MT 59107


   Wells Fargo Bank Nv Na
   Po Box 31557
   Billings, MT 59107
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   Wells Fargo Bank Nv Na
   CALL 800-225-5935
   Choose Account Type In Automated Attenda
   Des Moines, IA 50306


   Wf/wb
   Po Box 3117
   Winston Salem, NC        27102


   Wf/wb
   PO BOX 31557
   Mac B6955-01b
   Billings, MT 59107


   Wffnatbank
   Po Box 94498
   Las Vegas, NV    89193


   Whispering Palms Condo Association
   13200 Wilcox Rd
   Largo, FL 33774


   Whispering Palms Condominium Assn
   13200 WIlcox Road
   Largo, FL 33774
